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July 12, 2021

The Honorable Robert D. Mariani
United States District Judge

RE: Williams, Geoffrey (Estate of} v. Don Vito
Middle District Docket No.: 3:21-cv-00188-RDM
Our File No. 1986-7948

Dear Judge Mariani:

During the case management conference on May 19, 2021, in the above matter the Court
deferred referral of this case to Chief Magistrate Judge Karoline Mehalchick for the purpose of
conducting settlement discussions pending confirmation from Defendant City of Scranton that it
agreed to participate in that process. I have received authorization from the City of Scranton to
confirm that the City will participate in early mediation of this case. By copy of this letter I am
notifying opposing counsel as well.

Very truly yours,

Klar} R. Hildabrand*

KRH/jat
cc: Shelley L. Centini, Esquire “Board certified in civit
his E . trial law and advocacy
Joseph J. Santarone, squire by the National Board of
Legal Specialty Certification

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